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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



IN RE ASACOL ANTITRUST LITIGATION
                                        Civil Action No. 1:15-cv-12730-DJC


This Document Relates To:               FILED UNDER SEAL

All End-Payor Actions




               END-PAYOR PLAINTIFFS’ MEMORANDUM IN
     OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

       Plaintiffs challenge Warner Chilcott’s business decision to stop marketing and selling its

blockbuster ulcerative colitis drug, Asacol 400mg, while simultaneously introducing and

marketing a “new” 400mg tablet-in-a-capsule as its replacement. This product switch involved

only two changes: an inactive ingredient, DBP, was replaced with DBS in the Asacol tablet

coating; and the tablet was enclosed in a capsule. Warner Chilcott called its “new” product

Delzicol. That was in March 2013, four months before Warner Chilcott’s patents on the Asacol

tablets were set to expire on July 30, 2013.

       Defendants claim that Warner Chilcott launched a “safer” capsule product to address an

FDA request to remove DBP from Asacol, but when Defendants substituted DBS for DBP in the

United Kingdom, where they faced no patent cliff,1 they kept selling the 400mg tablet as

“Asacol,” with no patent-protected capsule addition. They did the same in the United States with

Asacol HD, an 800mg version of Asacol that also faced no patent cliff. Patients were outraged at

the switch and were plagued with problems swallowing the formulation. This hard-switch

“product hopping” scheme worked. Defendants maintained monopoly profits by sacrificing their

largest-selling Asacol 400mg product for Delzicol—an inferior product with a longer period of

patent protection against generic competition. As Warner Chilcott’s CEO and President Roger

Boissonneault said publicly about the hard-switch and those in the industry: “they’re all familiar

with what’s going on.” Pls.’ Statement of Facts (“PSOF”) ¶ 48.

       This Court previously held that Plaintiffs adequately pled claims for monopolization and

it rejected Defendants’ previous summary judgment attacks on causation, anticompetitive effect,



   1
     “Patent cliff” refers to the recognized pharmaceutical industry phenomenon whereby sales of a
brand drug “fall off a cliff” when generic entry occurs after patent expiration. See, e.g.
http://www.investopedia.com/terms/p/patent-cliff.asp.


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relevant market, and preemption. In re Asacol Antitrust Litig. (Asacol I), No. 15-cv-12730-DJC,

2016 WL 4083333 (D. Mass. July 20, 2016); In re Asacol Antitrust Litig. (Asacol II), 323 F.R.D.

451 (D. Mass. 2017). Now Defendants seek summary judgment of the entire case by

resurrecting their own manufactured idea of what “coercion” means in antitrust law. They also

target a number of class-specific state law claims that are not brought, and have never been

brought, on behalf of the individual named Plaintiffs themselves. Neither argument allows them

to dispose of this case.

        Defendants’ primary argument is based on an erroneous premise of law. As Warner

Chilcott would have it, to prove anticompetitive effect in an antitrust case involving market

foreclosure, plaintiffs must not just show the elimination of competition and consumer choice,

but must also show that the elimination of consumer choice forced consumers to only certain

specific products.2 That is not the law. Defendants coerced patients by eliminating consumer

choice “rather than persuad[ing] them on the merits” when they withdrew Asacol 400 and

introduced an inferior gimmick product in its place. New York ex rel. Schneiderman v. Actavis

PLC (Namenda), 787 F.3d 638, 654 (2d Cir.), cert. dismissed, 136 S. Ct. 581 (2015). The court

decided that already. Asacol II, 323 F.R.D. at 487 (“The Plaintiffs’ theory is in line with the

Second Circuit's decision in In re Namenda, 787 F.3d at 652.”). Nothing in the First Circuit’s

Rule 23(f) opinion disturbed that ruling.

        Nor is Defendants’ “coercion” argument relevant to antitrust injury. For the individual

third-party payor (“TPP”) plaintiffs, it does not matter which specific Asacol HD and Delzicol

prescriptions would have been generic Asacol 400 prescription but-for Defendants’ misconduct

or that some small number would have remained on Asacol HD or Delzicol; it only matters that


    2
      Mem. of Law in Supp. of Defs.’ Mot. for Summ. J., In re Asacol Antitrust Litig., No. 1:15-cv-12730,
at 1-12 (D. Mass. May 21, 2019), ECF No. 793 (“D. Br.”).


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each Plaintiff paid for at least one Asacol HD or Delzicol prescription that would have been a

cheaper generic Asacol 400 purchase but for Defendants’ misconduct.3

        Plaintiffs have substantial evidence capable of proving anticompetitive effect and

antitrust injury at trial. See Sections I.A-B. The named Plaintiffs each paid for a number of

independent Asacol HD and Delzicol prescriptions and, even putting aside the wealth of other

qualitative and circumstantial evidence showing anticompetitive effect and antitrust injury, the

simple math shows there is at least a 99.8% probability of injury for each named Plaintiff. PSOF

¶¶ 100-05. Defendants do not engage this evidence; instead, they build a strawman by broadly

mischaracterizing the First Circuit’s class certification opinion in this case to hold that individual

testimony is the only way to prove anticompetitive effect and antitrust injury in an antitrust case

involving market foreclosure, even when the plaintiff parties are TPPs, not consumers.

Defendants attempt to rewrite Asacol but their reading cannot be squared with Supreme Court

precedent and numerous other First Circuit cases, both before and after the Asacol opinion.

        Defendants’ second argument targets a variety of state law claims that are not brought on

behalf of individual named Plaintiffs. Plaintiffs confirmed with Defendants before this briefing

that named Plaintiffs had only four state claims on their own behalf: Minnesota, New Hampshire,

Wisconsin, and Florida.4 Defendants attack three, Minnesota, New Hampshire, and Florida.

They argue: (1) the redaction of personal patient ID information in outdated Teamsters and

Minnesota Laborers data from almost two years ago somehow renders it categorically impossible



    3
      In re Nexium Antitrust Litig. (Nexium I), 777 F.3d 9, 27 (1st Cir. 2015) (“Paying an overcharge caused
by the alleged anticompetitive conduct on a single purchase suffices to show – as a legal and factual matter
– impact or fact of damage.”) (citations omitted); Asacol II, 323 F.R.D. at 476, 478, 481.
    4
       Plaintiffs have submitted a form of Stipulation of Dismissal to Defendants for their approval. Once
Defendants respond, Plaintiffs will seek the voluntary dismissal of Teamsters. Teamsters’ claims on its
own behalf arise under New Hampshire law and it is the only named Plaintiff with New Hampshire
claims. Thus, the New Hampshire/Teamsters arguments are moot.


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to prove injury in New Hampshire and Minnesota respectively, and (2) NECA-IBEW cannot

bring a Florida claim, despite purchases there, because “it is not a Florida resident[.]” D. Br. at

17-18. These arguments fail. First, Plaintiffs have collected unredacted supplemental purchase

data that shows independent purchases and a straightforward application of Dr. Conti’s generic

erosion and pricing yardsticks mathematically shows that injury to Minnesota Laborers is

virtually certain. See Section I.B. Second, Defendants are simply wrong in their assertion that

the Florida Deceptive and Unfair Trade Practices Act does not provide a remedy to out-of-state

residents who are injured in Florida. Renaissance Cruises, Inc. v. Glassman, 738 So. 2d 436,

438-39 (Fla. Dist. Ct. App. 1999).

                               SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate only when the record reveals “no genuine dispute as to

any material fact and [that] the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). When reviewing a motion for summary judgment, the court will not “weigh the

evidence and determine the truth of the matter.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

249 (1986). Rather, the evidence submitted must be considered in the light most favorable to the

nonmoving party, drawing all reasonable inferences in its favor. Navarro v. Pfizer Corp., 261

F.3d 90, 94 (1st Cir. 2001).

                                           ARGUMENT

       Section 2 of the Sherman Act makes it illegal to “monopolize, or attempt to monopolize

... any part of the trade or commerce” among several states. Diaz Aviation Corp. v. Airport

Aviation Servs., Inc., 716 F.3d 256, 265 (1st Cir. 2018) (alteration in original) (citation omitted).

Plaintiffs’ state law claims are construed in parallel with Sherman Act Section 2. See In re

Asacol Antitrust Litig. (Asacol III), 907 F.3d 42, 49 (1st Cir. 2018). To prove monopolization,




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Plaintiffs must show Warner Chilcott engaged in exclusionary conduct to protect its monopoly

position. Town of Concord v. Boston Edison Co., 915 F.2d 17, 21 (1st Cir. 1990). Exclusionary

conduct consists of “the willful acquisition or maintenance of that power as distinguished from

growth or development as a consequence of a superior product, business acumen, or historic

accident.” Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407

(2004) (citation omitted). “Coercion” from exclusionary conduct is established when defendants

eliminate consumer choice. See United States v. Microsoft Corp., 253 F.3d 34, 60-77 (D.C. Cir.

2001) (upholding findings of anticompetitive effect for various Microsoft practices that

eliminated consumer choice); Asacol I, 2016 WL 4083333, at *10 (“[W]ell-established case law

makes clear that product redesign is anticompetitive when it coerces consumers and impedes

competition.”) (citation omitted); Nat’l Collegiate Athletic Ass’n v. Bd. of Regents, 468 U.S. 85,

116-17 (1984) (affirming judgement where NCAA restricted output of [market 1] televised

games to increase [market 2] live attendance revenues). “[W]hen a monopolist combines

product withdrawal with some other conduct, the overall effect of which is to coerce consumers

rather than persuade them on the merits, and to impede competition, its actions are

anticompetitive under the Sherman Act.” Namenda, 787 F.3d at 654 (emphasis omitted)

(citation omitted); C.R. Bard, Inc. v. M3 Sys., Inc., 157 F.3d 1340, 1382 (Fed. Cir. 1998)

(upholding verdict against manufacturer of biopsy gun that modified its product to prevent

compatibility with competitor replacement needles).

I.     Defendants “coerced” Plaintiffs by eliminating generic competition and consumer
       choice.

       There is a genuine dispute about whether Warner Chilcott combined the withdrawal of

Asacol 400mg in March 2013—only months before the drug’s “patent cliff”—with the

introduction of the “new” Delzicol to thwart generic competition. The court has already ruled on



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this. Asacol II, 323 F.R.D. at 488-89. Denied the opportunity to purchase generic Asacol 400,

many purchasers purchased Asacol HD and Delzicol instead—Defendants’ other patent

protected drugs. The proper questions in front of the court now are: (1) whether Plaintiffs have

adduced sufficient evidence of anticompetitive effect to go to a jury, and (2) whether there is

evidence in the record from which a jury could conclude that each TPP named Plaintiff in this

case was overcharged on at least a single Asacol HD or Delzicol purchase. The answer to both

questions is yes. Defendants’ coercion argument is largely a confused conflation of the

anticompetitive effect element of an antitrust claim (discussed in Section I.A) and the antitrust

injury and cause-in-fact elements of an antitrust claim (discussed in Section I.B). Defendants’

claim that proof of injury to the TPP named Plaintiffs can only come in the form of individual

testimony from thousands of consumer witnesses is contrary to precedent, logic, the record, and

basic mathematics.

       A.      Defendants’ misconduct eliminated consumer choice.

       Defendants cannot dispute that they withdrew Asacol 400 from the market or that the

court already held Plaintiffs adduced sufficient evidence that Defendants’ withdrawal foreclosed

generic competition. Instead, hidden behind the guise of a repackaged “coercion” argument,

Defendants try and argue that even if generic entry had occurred, Plaintiffs lack evidence that the

majority of Asacol HD and Delzicol prescriptions would have been the cheaper generic Asacol

400 and the named Plaintiffs were overcharged at least once. Plaintiffs do not need to interview

every single consumer to establish those facts; the existing evidence is overwhelming.



                                                                                    PSOF ¶ 25.




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                                     PSOF ¶ 40. He publicly discussed the anticipated arrival of

generic competition and the hard-switch scheme to avoid it: “[T]he generic company doesn’t

even get launched because the reference product will be Delzicol. . . . There won’t be any Asacol

out there.” PSOF ¶¶ 42-43.

                                                                                          PSOF ¶ 29.




                                                    PSOF ¶ 27.

                                                          PSOF ¶ 28. Defendants argue that

Plaintiffs have no evidence of “coercion,” but “coercion” was the entire point of Warner

Chilcott’s hard-switch. PSOF ¶¶ 23-57, 89. Warner Chilcott would not have abandoned its

blockbuster Asacol 400 drug unless it would extend monopoly profits in the Asacol HD and

Delzicol lines. PSOF ¶ 47.

        Warner Chilcott repeatedly admitted that Asacol 400 prescriptions would likely remain

Asacol 400 prescriptions barring some action on their part to take the choice away from patients.

PSOF ¶¶ 16-19, 51-87. Mr. Boissonneault acknowledged: “[W]hen someone is put on Asacol

for their ulcerative colitis, it is likely that they [are] put on the product [when they are] 20 to 30

years old, and they are probably going to be taking that product for the rest of their lives . . . .”

PSOF ¶ 17. John Goll, another Warner Chilcott employee, explained:

                                                                       –

                                  PSOF ¶ 19. Defendants’ own medical experts testified to the

same. PSOF ¶¶ 16, 57.




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          Defendants’ actions prevented generic Asacol 400 entry at the expense of end-payors.

PSOF ¶¶ 50-57, 59-87, 100-06. It is undisputed that after Warner Chilcott withdrew Asacol 400

from the market, all end-payors lost the opportunity to purchase Asacol 400 and its cheaper

generic equivalents.5 That is the “coercion” at issue in this case; that is the consumer choice that

Warner Chilcott destroyed; and that is an anticompetitive effect.

          The case law outlining the contours of “coercion” in an antitrust market foreclosure case

is well-established and uniformly goes against Defendants’ novel construction here. See, e.g.,

Namenda, 787 F.3d at 654 (defining “coercion” by reference to consumer choice eliminated by

product withdrawal); Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 603-04

(1985) (upholding jury verdict for plaintiff where the defendant’s decision to withdraw multi-

mountain ski pass deprived consumers of choice); In re Suboxone Antitrust Litig., 64 F. Supp. 3d

665, 681-82 (E.D. Pa. 2014) (analyzing “coercion” in monopolization foreclosure case by

reference to restrictions on “freedom of consumer choice” that “prevent[ed] consumer choice and

reduce[d] the market’s ambit”); Abbott Labs. v. Teva Pharms. USA, Inc., 432 F. Supp. 2d 408,

422 (D. Del. 2006) (same).6 These cases, like all others in antitrust law, focus the

anticompetitive effect inquiry on whether there has been an elimination of consumer choice or a

decrease in consumer welfare. Defendants are trying to pin new requirements on a very well-

established principle of antitrust law. See, e.g., Associated Gen. Contractors of Cal., Inc. v. Cal.


    5
        PSOF ¶ 51; Defendants’ economist, J. Douglas Zona, conceded “coercion.” Zona Tr. 26:23-27:2
(
                                                                  ).
    6
      Cf. Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 1000 (9th Cir.
2010) (“Absent some form of coercive conduct by the monopolist, the ultimate worth of a genuine
product improvement can be adequately judged only by the market itself.”); Berkey Photo, Inc. v.
Eastman Kodak Co., 603 F.2d 263, 287 n.39 (2d Cir. 1979) (“Thus, the situation might be completely
different if . . . Kodak had ceased producing film in the 126 size, . . .”); Walgreen Co. v. AstraZeneca
Pharms. L.P., 534 F. Supp. 2d 146, 151 (D.D.C. 2008) (granting motion to dismiss because “there is no
allegation that AstraZeneca eliminated any consumer choices”).


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State Council of Carpenters, 459 U.S. 519, 528 (1983) (“Coercive activity that prevents its

victims from making free choices between market alternatives is inherently destructive of

competitive conditions and may be condemned even without proof of its actual market effect.”);

FTC v. Ind. Fed’n Dentists, 476 U.S. 447, 459 (1986) (restrictive agreement that “limit[ed]

consumer choice by impeding the ‘ordinary give and take of the market place,’ cannot be

sustained under the Rule of Reason”) (citation omitted); Blue Shield of Va. v. McCready, 457

U.S. 465, 481-84 (1982) (upholding antitrust claim where plaintiff psychotherapy patient was

“coerced” by defendant insurer’s policy of reimbursing for psychiatrist treatment but not

psychologist treatment).7

        Other than a mischaracterized reading of the First Circuit’s Asacol class certification

opinion, Defendants only cite one other case in support of their “coercion” creation: Mylan

Pharms. Inc. v. Warner Chilcott Pub. Ltd. Co. (Doryx), 838 F.3d 421 (3d Cir. 2016). Doryx

supports Plaintiffs. In Doryx, the Third Circuit affirmed the district court’s finding of no

anticompetitive effect because the generic competitor was not foreclosed from the market; in

other words, unlike here, consumer choice was not eliminated. Id. at 438-39. The Third Circuit


    7
      Cf. Sterling Merch., Inc. v. Nestle, S.A., 656 F.3d 112, 125-26 (1st Cir. 2011) (rejecting antitrust
claim where evidence showed no impact to “consumer access and choice”); Ross v. Bank of Am., N.A.
USA, 524 F.3d 217, 224 (2d Cir. 2008) (“The reduction in choice and diminished quality of credit
services to which the cardholders claim they have been subjected are present anti-competitive
effects….”); LifeWatch Servs. v. Highmark Inc., 902 F.3d 323, 340-41 (3d Cir. 2018) (upholding antitrust
claim where patients were “induced” into outpatient cardiac monitor treatment by defendant insurer’s
policy of refusing reimbursement for telemetry monitoring); Conwood Co., L.P. v. U.S. Tobacco Co., 290
F.3d 768, 789-90 (6th Cir. 2002) (upholding jury verdict where there was evidence defendant’s actions
“caused higher prices and reduced consumer choice, both of which are harmful to competition”); Four
Corners Nephrology Assocs., P.C. v. Mercy Med. Ctr. of Durango, 582 F.3d 1216, 1224 (10th Cir. 2009)
(finding valid procompetitive justification where exclusive dealing contract actually resulted in additional
consumer choice); Palmyra Park Hosp., Inc. v. Phoebe Putney Mem’l Hosp., 604 F.3d 1291, 1303 (11th
Cir. 2010) (holding “higher prices and fewer choices for consumers” are “precisely the type of harm that
we allow plaintiffs to vindicate through the antitrust laws”); Cal. Ass’n of Realtors v. PDFfiller, Inc.,
No. 16-cv-11021, 2018 WL 1403330, at *10 (D. Mass. Mar. 2) (restrictions on consumer choice
sufficient to allege antitrust injury), report & recommd’n adopted by 2018 WL 1399296 (D. Mass. Mar.
19, 2018).


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expressly distinguished the Doryx situation from cases where there was elimination of consumer

choice, such as Namenda. Id. at 440 (noting Namenda’s distinction that Doryx was “an example

of a situation in which there was no evidence of consumer coercion, because generics ‘had

already entered the market at the time of defendants’ product reformulation’”) (citation omitted).

Here, like Namenda and unlike Doryx, consumers were foreclosed from the cheaper generic

product.

       To be sure, under the rule of reason, Defendants will have the opportunity at trial to try

and balance the total elimination of the Asacol 400 choice for consumers with procompetitive

justifications, but this Court has already held (1) Defendants lack evidence for several of their

“justifications,” and (2) Plaintiffs have sufficient evidence to rebut Defendants’ justifications as

pretextual. Asacol II, 323 F.R.D. at 487. Defendants are simply incorrect that Plaintiffs cannot

prove anticompetitive effect (or “coercion”). Defendants are also incorrect that Plaintiffs cannot

prove antitrust injury and cause-in-fact, which are analytically separate from anticompetitive

effect (or “coercion”). In re Nexium Antitrust Litig. (Nexium II), 842 F.3d 34, 60 (1st Cir. 2016).

       B.      Plaintiffs can prove antitrust injury.

       In support of their misguided and self-created definition of “coercion,” Defendants rely

almost exclusively on a broad mischaracterization of the First Circuit’s class certification

opinion. Defendants’ reliance is misplaced; their reading of the First Circuit’s Asacol decision is

inconsistent with all of the case law discussed above—including binding Supreme Court

precedent—and it is also inconsistent with the First Circuit’s own cases, including In re Celexa

& Lexapro Mktg. & Sales Practices Litig. (Lexapro), 915 F.3d 1 (1st Cir. 2019), which was

authored shortly after the Asacol opinion, by the same judge. Plaintiffs here can prove antitrust




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injury in the form of overcharges, and can prove the causal link between those overcharges and

Defendants’ foreclosure of generic Asacol 400 competition.

        “Paying an overcharge caused by the alleged anticompetitive conduct on a single

purchase suffices to show—as a legal and factual matter—impact or fact of damage.” Nexium I,

777 F.3d at 27 (citation omitted); see Asacol II, 323 F.R.D. at 476, 478, 481. “[A]ntitrust injury

occurs the moment the purchaser incurs an overcharge, whether or not that injury is later offset.”

Nexium I, 777 F.3d at 27. For almost a century, it has been blackletter antitrust law that where a

plaintiff proves a loss, and a violation by defendant of the antitrust laws of such a nature as to be

likely to cause that type loss, “the jury, as the trier of the facts, must be permitted to draw from

this circumstantial evidence the inference that the necessary causal relation exists.” Cont’l Ore

Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 697 (1962) (citation omitted) (approving

the Ninth Circuit’s reliance on Bigelow v. RKO Radio Pictures, Inc., 327 U.S. 251 (1946), Story

Parchment Co. v. Paterson Parchment Co., 282 U.S. 555 (1931), and Eastman Kodak Co. of

N.Y. v. S. Photo Materials Co., 273 U.S. 359 (1927)); see also In re Neurontin Mktg. & Sales

Practices Litig. (Kaiser), 712 F.3d 21, 45 (1st Cir. 2013) (“Once a plaintiff presents evidence

that he suffered the sort of injury that would be the expected consequence of the defendant’s

wrongful conduct, the burden shifts to the defendant to rebut this causal inference.”) (citation and

internal quotation marks omitted).8




    8
      See also Haverhill Gazette Co. v. Union Leader Corp., 333 F.2d 798, 805-07 (1st Cir. 1964) (vacating
judgment condemned as “too favorable treatment of a deliberate wrongdoer” where the trier of fact “put
[the] burden on” plaintiff “to eliminate all proper causes for the [anticompetitive harm] to the extent of
affirmatively showing that the illegal causes were the sole or most substantial”); Momand v. Universal Film
Exchanges, Inc., 172 F.2d 37, 42 (1st Cir. 1948) (causation “in an anti-trust suit, covering as it must many
imponderables, rigid standards of precise proof would make a plaintiff’s task practically hopeless”);
Automatic Radio Mfg. Co. v. Ford Motor Co., 390 F.2d 113, 117 (1st Cir. 1968) (same). “Intervening
cause” is Defendants’ burden of proof. Kaiser, 712 F.3d at 45.


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        Thus, a prima facie case of cause-in-fact can be inferred from the exclusionary conduct

and the harm that naturally flows from such conduct:

        We may infer causation when exclusionary conduct is aimed at producers of
        nascent competitive technologies as well as when it is aimed at producers of
        established substitutes. Admittedly, in the former case there is added uncertainty,
        inasmuch as nascent threats are merely potential substitutes. But the underlying
        proof problem is the same—neither plaintiffs nor the court can confidently
        reconstruct a product’s hypothetical technological development in a world absent
        the defendant’s exclusionary conduct. To some degree, “the defendant is made to
        suffer the uncertain consequences of its own undesirable conduct.”

Microsoft, 253 F.3d at 79 (citation omitted).9

        The analysis of antitrust injury and the causal link for Plaintiffs here is far more

straightforward than Defendants paint it. Plaintiffs have adduced evidence that generic entry

would have occurred earlier but for Defendants’ misconduct; that is not up for debate in this

motion, the Court has decided that. The question left is: had generic Asacol 400 entered the

market, do Plaintiffs have evidence that they would have made at least a single purchase at a

lower price than they paid for Asacol HD or Delzicol? The answer is yes; there is ample direct

and circumstantial evidence capable of proving injury and cause-in-fact for Plaintiffs.

        Plaintiffs’ expert, Dr. Rena Conti, offers an opinion on antitrust impact and aggregate

damages based on a commonly used “yardstick” methodology that is identical to the

methodologies accepted by numerous other courts in generic suppression antitrust litigation in

this Circuit and elsewhere. See, e.g., Asacol II, 323 F.R.D. at 467-70 (denying Defendants’

motion to exclude Dr. Conti’s testimony); Nexium I, 777 F.3d at 26 (approving plaintiffs’

yardstick methodology). Dr. Conti’s overcharge pattern modeling shows the empirical


    9
      See also In re Actos End-Payor Antitrust Litig., 848 F.3d 89, 101 (2d Cir. 2017) (“[E]ven at
summary judgment, an antitrust plaintiff may be entitled to a presumption of causation where the
anticompetitive conduct ‘is deemed wrongful because it is believed significantly to increase the risk of a
particular injury’ and that injury occurred.”) (citation omitted); BCS Servs. v. Heartwood 88, LLC, 637
F.3d 750, 758 (7th Cir. 2011) (same).


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likelihood that any given Asacol HD or Delzicol prescription in the actual world would have

been a cheaper Asacol product had Defendants not crushed generic competition before it could

begin. PSOF ¶ 100. In her analysis of Scenario 1.A, Dr. Conti shows that about 73.4% of

Delzicol prescriptions would have switched to the generic Asacol 400 product, and 28.1% of

Asacol HD prescriptions would have switched to the lower-priced brand Asacol 400 product or

the generic Asacol 400 product. PSOF ¶¶ 102 (Ex. 31; Ex. 96, Rosenthal Decl. at ¶ 810).

         The Court and the jury can look at the multitude of independent Asacol HD and Delzicol

purchases that the named Plaintiffs have and determine the mathematical likelihood that at least

one of those purchases would have been a cheaper Asacol prescription but for Defendants’

misconduct. To borrow Dr. Rosenthal’s “coin-flip” explanation:

         To see how this probability analysis works, take first a simple example – the toss
         of a fair coin. If there is a single coin toss, we know that the chance the coin does
         not land on “heads” is 50%. If we toss the coin twice the chance that the coin
         shows heads neither time is: 50%*50% = 25%. If we toss the coin three times,
         the chance that the coin never shows heads is: 50%*50%*50% = 12.5%. With
         only seven coin tosses, there is less than a 1% chance of never seeing heads. We
         can use this same logic to ask how many patients a third-party payer would need
         to have a de minimus chance of being uninjured.

PSOF ¶ 102 (Ex. 96, Rosenthal Decl. at 6).

         Application of this mathematical analysis to the named Plaintiffs’ purchase data

shows the quantitative likelihood of injury is far beyond the “more likely than not”

threshold required in a civil case. Applying Dr. Conti’s yardsticks and the same

probability analysis outlined by the First Circuit and Dr. Rosenthal in Lexapro, the



    10
       The Delzicol switcher ratio is calculated as the sum of Ex. 31, Conti Rep. Attachment C.10.a Column
9 divided by the sum of Attachment C.7 Column 5, or the but-for number of prescriptions switching to
generic Asacol 400 divided by the actual number of Delzicol prescriptions. The Asacol HD switcher ratio
is calculated as the sum of Attachment C.7 Column 9 divided by Attachment C.7 Column 4, or the but-for
number of prescriptions that would have switched to the brand or generic version of Asacol 400 divided by
the actual number of Asacol HD prescriptions.


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likelihood of injury, i.e., at least one overcharge, for the named Plaintiffs in this case is

above 99.8%. Using Judge Kayatta’s language in Lexapro, “the odds that [a TPP] was

not harmed” are “likely infinitesimal (assuming the prescriptions were independent of

one another).” Lexapro, 915 F.3d at 13.

        In the supplemental data11 through July 12, 2017 alone, Wisconsin Masons has 5
         independent Delzicol purchasers and 3 independent HD purchasers, all purchasing
         in Wisconsin. Wisconsin Masons’ likelihood of injury is 99.95%.12
        In the supplemental data through June 30, 2017 alone, NECA-IBEW has 5
         independent Delzicol purchasers in Wisconsin, 4 independent HD purchasers in
         Florida, and 3 independent HD purchasers in Wisconsin. NECA-IBEW’s
         likelihood of injury is 99.99%.13
        In the supplemental data covering only up until June 30, 2015, MN Laborers has 2
         independent Delzicol purchasers in Minnesota and 11 independent HD purchasers
         in Wisconsin and Minnesota. MN Laborers’ likelihood of injury is 99.8%.14

         Importantly, these mathematical probabilities conservatively assume that each

independent purchaser only purchases once.15 For every subsequent purchase, the

probability of a generic Asacol 400 transaction in the but-for world can only increase




    11
       Defendants make much of the fact that the purchase data Plaintiffs originally produced over two
and a half years ago, in response to the contours of Defendants’ own discovery requests, was redacted for
specific patient identification. D. Br. at 17-18. Defendants never requested unredacted data; neither party
believed it was necessary at that stage in the case.
    12
       Compare Ex. 31, Conti Rep. (see n.10 supra) and Ex. 96 Rosenthal Decl. Table 1 to Ex. 98, WI
Masons supplemental data: independent purchasers shown in Column U, identified by the last four digits
7020, 2242, 1463, 8905, 0600 (Delzicol purchasers) and 4312, 2630, 9508 (Asacol HD purchasers).
    13
       Compare Ex. 31, Conti Rep. (see n.10 supra) and Ex. 96, Rosenthal Decl. Table 1 to Ex. 99, NECA
supplemental data: independent purchasers shown in Column R, identified by the last four digits 2958,
2530, 2864, 2722, 8829 (Delzicol purchasers) and 3997, 4023, 8250, 3813, 2295, 2300, and 4183 (Asacol
HD purchasers).
    14
       Compare Ex. 31, Conti Rep. (see n.10 supra) and Ex. 96, Rosenthal Decl. Table 1 to Exs. 100-01,
MN Laborers supplemental data: independent purchasers shown in Column 5 (Unique Member ID),
identified by the last four digits 8460, 1101 (Delzicol purchasers) and 5301, 1001, 3002, 0402, 8801,
0501, 9601, 3701, 1101, 3107, and 1801 (Asacol HD purchasers). Pharmacy location is confirmed in
Minnesota and Wisconsin by cross-checking the NABP pharmacy code for independent purchasers
identified in Ex. 101 against the NABP code and pharmacy state in Ex. 100.
    15
       Though it has no quantified impact on the probability analysis, it is worth noting that every single
one of the independent purchasers identified above that was purchasing a product prior to the hard-switch
was purchasing Asacol 400.


                                                    14
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because of automatic generic substitution laws and ways managed care organizations

encourage consumers to try a generic drug over a brand drug at least once. PSOF ¶ 106.

       In addition to the quantitative evidence outlining the probability of injury and the

qualitative evidence showing that even Warner Chilcott knew consumers wanted to stay

on Asacol 400, the record is also replete with direct complaints from consumers that were

forced off of Asacol 400.

                                                     PSOF ¶¶ 59-87.




   


   



   


   




PSOF ¶ 86 (Exs. 68-71). Defendants’ introduction of Delzicol in the place of Asacol 400

                                                       PSOF ¶¶ 59-87.



                              PSOF ¶¶ 66-67.

               PSOF ¶¶ 90-99.




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         Defendants, of course, will disagree with the underlying yardsticks in Dr. Conti’s

methodology and may contest the probabilities of injury at trial. They will certainly attempt to

explain away the rows and rows of consumer complaints that flooded in when Warner Chilcott

forced everyone off of Asacol 400. They may even try to convince the jury that generic drugs

are more expensive than brand drugs. The jury will have the opportunity to weigh the credibility

of whatever admissible evidence Defendants can try and muster in support of these claims. That

merits dispute warrants the denial of Defendants’ motion. Read in the light most favorable to

non-movant Plaintiffs, the cumulative evidence of injury is sufficient to sustain a jury verdict on

antitrust injury and cause-in-fact under the “more likely than not” standard.

         Defendants’ new “coercion” standard rests entirely upon out-of-context quotes from

Asacol, but they do not cite, much less discuss, Lexapro, In re Neurontin Mktg. & Sales

Practices Litig. (Neurontin), 712 F.3d 60 (1st Cir. 2013), or In re Pharm. Indus. Average

Wholesale Price Litig. (AWP), 582 F.3d 156 (1st Cir. 2009)—all on-point First Circuit

precedents preceding and following Asacol. Defendants also omit one crucial fact in the course

of their total reliance on Asacol: this case no longer includes consumer plaintiffs and it no longer

involves TPPs without at least a “handful” of independent purchases (to the extent any such

TPPs even exist).16 The First Circuit’s entire discussion in Asacol was predicated on the

existence of some number of uninjured consumers. On the record before it, the First Circuit

found that it was not feasible to distinguish which particular individual consumers were injured

and which were uninjured. Asacol III, 907 F.3d at 51 (“Plaintiffs’ class nevertheless includes

consumers who would have continued to purchase a brand drug for various reasons, even if a



    16
      See Lexapro, 915 F.3d at 14 (“[Plaintiff’s] clinical and statistical evidence, if believed, could establish
causation and injury at least for any TPP who paid for more than a handful of different patients’
prescriptions.”).


                                                       16
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cheaper, generic version had been available.”). To borrow again from Dr. Rosenthal’s coin-flip

example, a consumer only gets one “flip” of the coin to show statistical probability of injury and,

importantly, Plaintiffs here did not dispute that there would be some small percentage of

consumers who flipped the coin and came up “uninjured,” i.e., “consumers who would have

continued to purchase a brand drug for various reasons, even if a cheaper, generic version had

been available.” Id.

         A TPP “who paid for more than a handful of different patients’ prescriptions,”17 on the

other hand, gets to “flip the coin” for every independent purchaser that it covers. Defendants are

trying to apply Asacol’s consumer reasoning to TPPs, but such a reading would place Asacol

squarely at odds with Lexapro, Neurontin, Kaiser, and AWP.

         In Lexapro, the First Circuit expressly distinguished proof of consumer injury in Asacol

from proof of TPP injury in Lexapro. Regarding proof of injury to a TPP, the Lexapro court

explained: “The statistical proof in this instance is being used only to prove that a group of

prescriptions likely includes at least one that a certain activity caused, and it is then being

utilized to estimate the percentage of such causally connected prescriptions in that group.”

Lexapro, 915 F.3d at 13 n.9. That is precisely what Plaintiffs are doing now with TPP injury

proof. Each TPP has a group of independent prescriptions and the statistical proof, outlined

above, is being utilized to estimate whether there is at least one overcharge prescription within

that group of independent prescriptions. Lexapro goes on to expressly distinguish this use of

statistical evidence in the TPP context from the consumer evidence at issue in Asacol: “[Plaintiff]

Painters proposes no use of the statistical data to prove that [defendant] Forest’s off-label

marketing caused any particular prescription to be written.” Id. (citing Asacol III, 907 F.3d



   17
        Lexapro, 915 F.3d at 14.


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at 54) (emphasis added). In the First Circuit’s view, to determine particularized consumer injury

on the Asacol record, it was necessary to determine whether the consumer’s particular

prescription would or would not have been Asacol 400, but the TPP analysis is different. For

TPPs, like Wisconsin Masons, NECA-IBEW, and MN Laborers, it is not necessary to determine

which particular prescriptions would have been generic Asacol 400, only that at least one in

their “group” of different patients’ purchases would have been generic Asacol 400.

        Lexapro was not the first opinion in this circuit to endorse the use of statistical proof to

prove injury to TPPs. As here, the drug manufacturer defendant in Neurontin argued that in

order to prove their off-label marketing misconduct actually caused any particular prescription

for TPP purchasers, the plaintiffs would have to provide individualized evidence from thousands

of individual physicians. Neurontin, 712 F.3d at 63. The district court granted summary

judgment to the defendant and denied class certification, finding that a “granular doctor-by-

doctor analysis” was required. Id. at 65-66 (citation omitted). The First Circuit reversed

summary judgment in favor of the defendant and vacated the denial of class certification,

reasoning that the district court erred in finding that plaintiff’s aggregate statistical analysis,

again provided by Dr. Rosenthal, was incapable of establishing TPP plaintiffs were injured by

defendant’s conduct. Id. at 68-69. In rejecting defendant’s plea that individual testimony from

thousands of doctors was necessary, the First Circuit held “the existence of these individual

doctors does not defeat the implication—clearly presented through Dr. Rosenthal’s regression

analysis—that Pfizer’s misinformation had a significant influence on thousands of other

prescribing decisions. . . . Ultimately, it is a jury’s task to weigh the individual testimony

presented by Pfizer against the aggregate and circumstantial evidence presented by the Harden

plaintiffs.” Id.




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       The First Circuit has also been consistent in affirming verdicts based upon the use of

aggregate statistical analysis to prove cause-in-fact and TPP injury. In Kaiser, a parallel case to

Neurontin, the First Circuit upheld a jury verdict in the TPP plaintiff’s favor and rejected

defendant’s challenges to the sufficiency of aggregate statistical proof. Kaiser, 712 F.3d at 45-

47. There, Dr. Rosenthal again “use[d] aggregate data and statistical approaches” to link

defendant’s misconduct to prescription patterns. Id. at 29 (alteration in original) (citation

omitted). In affirming Dr. Rosenthal’s methodology, the First Circuit surveyed the well-

established precedent “long permit[ing] parties to use statistical data to establish causal

relationships.” Id. at 42. And in AWP, citing Dr. Rosenthal’s work, the First Circuit affirmed a

class-wide antitrust verdict for TPP plaintiffs and affirmed the use of aggregate statistical

analysis to prove that groups of prescription prices would have been lower than they were but for

defendant’s misconduct. AWP, 582 F.3d at 190.

       So here; Plaintiffs have substantial statistical and circumstantial evidence to prove injury

and cause-in-fact. To the extent Defendants believe they have admissible individual evidence

capable of persuasively rebutting Plaintiffs’ proof, they will be allowed to present it to a jury.

II.    Named Plaintiffs have their own valid claims in Florida, Minnesota, and Wisconsin.

       Wisconsin Masons has purchases and injury in Wisconsin; NECA-IBEW has purchases

and injury in Wisconsin and Florida; and Minnesota Laborers has purchases and injury in

Wisconsin and Minnesota. See Section I.B. Defendants’ only challenges to these claims are that

(1) Minnesota Laborers lacks data that can identify independent purchasers, and (2) NECA-

IBEW’s Florida claims are prohibited by the Florida statute because NECA-IBEW is not a

Florida resident. D. Br. at 17-18. Both arguments fail.




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          First, Minnesota Laborers has unredacted data and has submitted that data. PSOF ¶ 105

(Exs. 100-01). Second, the Florida Deceptive and Unfair Trade Practices Act applies equally to

protect citizens from other states that are injured in Florida, as NECA-IBEW was when it was

overcharged for purchases in Florida. Renaissance, 738 So. 2d at 438-39 (upholding class claim

under Florida law even where 92% of the tickets were sold to non-resident class members

because, in part, the overcharge payments were made in Florida). Defendants’ cases actually

explain that location of injury is the correct inquiry, not “residency.” See Océ Printing Sys. USA,

Inc. v. Mailers Data Servs., Inc. 760 So. 2d 1037, 1042 (Fla. Dist. Ct. App. 2000) (rejecting

nationwide class and application of Florida law to non-Florida residents with injuries outside

Florida: “The only proper class is one whose members suffered an injury due to adverse effects

in the state of Florida arising from a restraint on trade.”) (emphasis added); Coastal Physician

Servs. of Broward Cty., Inc. v. Ortiz, 764 So. 2d 7, 8 (Fla. Dist. Ct. App. 1999) (noting the

Florida statute was for the protection of consumers who received offending billing notices inside

Florida but would not extend to consumers who received offending billing notices outside

Florida).

                                         CONCLUSION

          For all the foregoing reasons, Defendants' motion for summary judgment should be

denied.

Dated: May 31, 2019                                   Respectfully submitted,

                                                      /s/ Nathaniel L. Orenstein
                                                      Nathaniel L. Orenstein (BBO #664513)
                                                      BERMAN TABACCO
                                                      One Liberty Square
                                                      Boston, MA 02109
                                                      Tel: (617) 542-8300
                                                      Fax: (617) 542-1194
                                                      norenstein@bermantabacco.com



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                                    Todd A. Seaver (645874)
                                    BERMAN TABACCO
                                    44 Montgomery Street, Suite 650
                                    San Francisco, CA 94104
                                    Tel: (415) 433-3200
                                    Fax: (415) 433-6382
                                    tseaver@bermantabacco.com

                                    Liaison Counsel for the End-Payor Plaintiffs

                                    Tyler W. Hudson
                                    Eric D. Barton
                                    WAGSTAFF & CARTMELL, LLP
                                    4740 Grand Avenue, Ste. 300
                                    Kansas City, MO 64112
                                    Tel: (816) 701-1100
                                    Fax: (816) 531-2372
                                    thudson@wagstaffcartmell.com
                                    ebarton@wagstaffcartmell.com

                                    Kenneth A. Wexler
                                    Justin N. Boley
                                    Tyler J. Story
                                    WEXLER WALLACE LLP
                                    55 W. Monroe Street, Suite 3300
                                    Chicago, IL 60603
                                    Tel: (312) 346-2222
                                    kaw@wexlerwallace.com
                                    jnb@wexlerwallace.com
                                    tjs@wexlerwallace.com

                                    Interim Co-Lead Counsel for End-Payor
                                    Plaintiffs


                                    Daniel E. Gustafson
                                    Karla M. Gluek
                                    Michelle J. Looby
                                    Joshua J. Rissman
                                    GUSTAFSON GLUEK PLLC
                                    120 South Sixth Street, Suite 2600
                                    Minneapolis, MN 55402
                                    Tel: (612) 333-8844
                                    Fax: (612) 339-6622
                                    dgustafson@gustafsongluek.com



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                                    kgluek@gustafsongluek.com
                                    mlooby@gustafsongluek.com
                                    jrissman@gustafsongluek.com

                                    Jeffrey L Kodroff
                                    William G. Caldes
                                    John A. Macoretta
                                    SPECTOR ROSEMAN KODROFF &
                                    WILLIS, P.C.
                                    1818 Market Street, Suite 2500
                                    Philadelphia, PA 19103
                                    Tel: (215) 496-0300
                                    Fax: (215) 496-6611
                                    jkodroff@srkw-law.com
                                    bcaldes@srkw-law.com
                                    jmacoretta@srkw-law.com

                                    Peter J. Mougey (FL #0191825)
                                    LEVIN, PAPANTONIO, THOMAS,
                                    MITCHELL, RAFFERTY & PROCTOR,
                                    P.A.
                                    316 S. Baylen Street, Suite 600
                                    Pensacola, FL 32502
                                    Tel: (850) 435-7000
                                    Fax: (850) 435-7020
                                    pmougey@levinlaw.com

                                    Jonathan D. Karmel
                                    KARMEL LAW FIRM
                                    221 N. LaSalle Street, Suite 1307
                                    Chicago, IL 60601
                                    Tel: (312) 641-2910
                                    jon@karmellawfirm.com

                                    Karen Hanson Riebel
                                    Heidi M. Silton
                                    LOCKRIDGE GRINDAL NAUEN PLLP
                                    100 Washington Avenue South, Suite 2200
                                    Minneapolis, MN 55401
                                    Tel: (612) 339-6900
                                    Fax: (612) 339-0981
                                    khriebel@locklaw.com
                                    hmsilton@locklaw.com




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                                    William H. London
                                    FREED KANNER LONDON &
                                    MILLEN LLC
                                    2201 Waukegan Road, Suite 130
                                    Bannockburn, IL 60015
                                    Tel: (224) 632-4500
                                    Fax: (224) 632-4521
                                    blondon@fklmlaw.com

                                    Attorneys for End-Payor Plaintiffs




                  CERTIFICATE OF SERVICE




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